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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                   Plaintiff,        )
            v.                       )
                                     ) Civil Action No.
CHEMICAL SOLVENTS, INC.              )
                                     )
                  Defendant.         )
____________________________________)

                                          COMPLAINT

       The United States of America, by the authority of the Attorney General of the United

States and through the undersigned attorneys, acting on behalf of the Administrator of the United

States Environmental Protection Agency, alleges as follows:

                                     NATURE OF ACTION

       1.      The United States brings this civil action against Chemical Solvents, Inc.

(“Defendant”) for civil penalties and injunctive relief as a result of violations of the Clean Air

Act (“CAA”), the Clean Water Act (“CWA”), the Resource Conservation and Recovery Act

(“RCRA”), those Acts’ implementing regulations, and Defendant’s related permits. This action

is based on violations that occurred at Defendant’s solvent reclamation, chemical blending, and

commodity chemicals business, located near the intersection of Jennings Road and Old Denison

Road in southern Cleveland. Among other things, those violations caused the emission of

hazardous pollutants to the air and discharges of pollutants into the public sewer system in

amounts greater than allowed by law.




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                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the subject matter of this action. 28 U.S.C.

§§ 1331, 1345, and 1355; 42 U.S.C. § 7413(b) (CAA); 33 U.S.C. § 1319(b) (CWA); and 42

U.S.C. § 6928(a) (RCRA).

       3.      Venue is proper because the violations at issue occurred in this judicial district,

and Chemical Solvents, Inc. is located in and does business in this district. 28 U.S.C. § 1391(c);

42 U.S.C. § 7413(b) (CAA); 33 U.S.C. § 1319(b) (CWA); and 42 U.S.C. § 6928(a) (RCRA).

                                            NOTICES

       4.      On September 28, 2012, and December 3, 2014, EPA issued to Defendant CAA

Notice and Finding of Violations (“NOVs”). EPA provided a copy of the NOVs to the State of

Ohio as required by Section 113(a)(1) of the CAA, 42 U.S.C. § 7413(a)(1).

       5.      On March 4, 2010, April 30, 2012, January 22, 2013, and August 29, 2014, EPA

issued to Defendant RCRA NOVs. EPA provided a copy of these NOVs to the State of Ohio

prior to filing this action, as required by RCRA Section 3008(a), 42 U.S.C. § 6928(a).

       6.      The United States provided notice of commencement of this action to the State of

Ohio in accordance with the Acts. 42 U.S.C. § 7413(b) (CAA); 33 U.S.C. § 1319(b) (CWA); 42

U.S.C. § 6928(a) (RCRA).

                                          AUTHORITY

       7.      Authority to bring this action is vested in the United States Attorney General. 28

U.S.C. §§ 516 and 519; 42 U.S.C. § 7605 (CAA); 33 U.S.C. § 1366 (CWA); 42 U.S.C. § 6928(a)

(RCRA).




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                                             DEFENDANT

       8.      Defendant Chemical Solvents, Inc. is, and at all times relevant to this action has

been, a corporation organized and existing under the laws of the State of Ohio and doing

business in Ohio.

       9.      Defendant is the current owner and operator of a solvent reclamation, chemical

blending, and commodity chemical business that is conducted at 3751 Jennings Road

(“Jennings”) and 1010 Old Denison Road (“Denison”) in Cleveland, Ohio. Jennings and

Dennison (together the “Facility”) are adjacent and interrelated. At all times relevant to this

action, Defendant has owned and operated the Facility.

       10.     Defendant is, and at all times relevant to this action has been, a “person” under

the Acts. 42 U.S.C. § 7602(e) (CAA); 33 U.S.C. § 1362(5) (CWA); 42 U.S.C. § 6903(15)

(RCRA).

       11.     The Facility emits volatile organic compounds and hazardous air pollutants

including acetone, xylene, methyl ethyl ketone, trichloroethylene, and methanol.

       12.     The Facility discharges wastewater containing pollutants including carbon

tetrachloride, methylene chloride, tricholoroethylene, tetrachloroethylene, toluene, and vinyl

chloride.

       13.     Since approximately May 14, 1993, the Facility has been a waste management

operation that receives off-site material.

       14.     Since approximately May 14, 1993, Denison has been regulated as a hazardous

waste treatment, storage, or disposal facility under RCRA.




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A.      Jennings

        15.     Defendant conducts its commodity chemical business from Jennings, where it

unloads, loads, and repackages chemicals. Defendant loads chemicals into tanks, containers,

railcars, and tanker trucks, from which they can volatilize into the atmosphere. A solvent

loading rack is used to load and unload chemicals to tanks and tanker trucks. To control these

emissions, Defendant uses a vapor recovery system at Jennings.

B.      Denison

        16.     Defendant conducts solvent reclamation and chemical blending operations at

Denison. At Denison, Defendant receives waste solvents generated from industrial users such as

paint, printing, metal fabricating, electronics, and fiberglass manufacturing companies. The

waste solvents Defendant reclaims include materials from hazardous waste operations. For the

waste solvent Defendant does not reclaim, it either blends the waste solvent into fuel and sells it

to a third party or disposes of it off-site.

        17.     Defendant receives waste solvent in bulk or drum shipments and stores it in

above-ground storage tanks. Defendant uses a solvent loading rack to transfer the waste solvent

between tanks and tanker trucks or railcars. To control these emissions, Defendant uses a vapor

recovery system at Denison that consists of a chilled condenser. The condenser chills the gases

so they become liquid and can be removed.

        18.     Defendant has used two thin-film evaporators, known as LUWAs 1 and 2, to

reclaim waste solvent. According to Defendant, it has not used LUWA 1 since August 2011.

Defendant continues to use LUWA 2.




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C.      Facility Inspections

        19.    On March 18-20, 2009, EPA and Ohio EPA conducted a RCRA inspection of the

Facility.

        20.    On June 25-27, 2012, EPA conducted a CAA and RCRA inspection of the

Facility.

        21.    On November 7-8, 2013, EPA and the Northeast Ohio Regional Sewer District

(“NEORSD”) conducted a CWA inspection of the Facility.

        22.    On January 22-23, 2014, EPA conducted a CAA site visit at the Facility.

                                STATUTORY BACKGROUND

A.      Overview of Relevant Statutes

        23.    The CAA establishes a framework designed to protect and enhance the quality of

the Nation’s air so as to promote public health and welfare and the productive capacity of its

population. 42 U.S.C. § 7401.

        24.    The CWA is designed “to restore and maintain the chemical, physical, and

biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). The CWA and its

implementing regulations prohibit the discharge of pollutants into navigable waters of the United

States by any person, except in compliance with a permit, among other requirements.

        25.    RCRA establishes a comprehensive program to be administered by EPA and

authorized States for regulating the generation, transportation, and treatment, storage, and

disposal of hazardous waste. 42 U.S.C. §§ 6901-6992k.




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B.     Applicable Enforcement Provisions

       26.     Under the CAA, CWA, and RCRA, the United States may bring a civil action for

civil penalties and appropriate relief, including a temporary or permanent injunction, when any

person has violated, or is currently in violation of, the CAA, RCRA, CWA, or their

implementing regulations. 42 U.S.C. § 7413(b); 33 U.S.C. § 1319(b); 42 U.S.C. § 6928(a).

       27.     Any person who violates any requirement of the CAA, CWA, or RCRA or their

respective implementing regulations is subject to a maximum statutory civil penalty of up to

$25,000 per day for each violation, as adjusted for inflation, with each day in which a violation

occurs constituting a separate violation. 42 U.S.C. § 7413(e); 33 U.S.C. § 1319(d); 42 U.S.C.

§ 6928(g).

       28.     Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, as

amended by the Debt Collection Improvement Act of 1996 and the Federal Civil Penalties

Inflation Adjustment Act of 2015, 28 U.S.C. § 2461 note: Pub. L. 114-74, Section 701, the

maximum statutory civil penalties under the CAA, CWA, and RCRA have been adjusted for

inflation at 40 C.F.R. § 19.4. The applicable civil penalty levels are:

 DATE RANGE                 CAA                   CWA                     RCRA

 March 15, 2004-
                            $32,500               $32,500                 $32,500
 January 11, 2009

 January 12, 2009-
                            $37,500               $37,500                 $37,500
 November 2, 2015

 On or after November
                            $97,229               $53,484                 $72,718
 3, 2015



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                              CLEAN AIR ACT REQUIREMENTS

A.      National Ambient Air Quality Standards

        29.     The CAA requires EPA to promulgate regulations establishing primary and

secondary national ambient air quality standards (“NAAQS”) for seven “criteria” air pollutants.

42 U.S.C. §§ 7408-8409. Volatile organic compounds (“VOCs”) are a precursor to ozone, which

is one of the seven criteria air pollutants.

        30.     The CAA requires each state to designate those areas within its boundaries where

the air quality is better or worse than the NAAQS for each criteria pollutant, including ozone, or

where the air quality cannot be classified due to insufficient data. 42 U.S.C. § 7407(d). An area

where the air quality meets the NAAQS for a particular pollutant is an “attainment” area. An

area whose air quality does not meet the NAAQS is a “nonattainment” area.

        31.     From July 20, 2012 to January 6, 2017, Cuyahoga County, Ohio, where

Defendant’s Facility is located, was classified as nonattainment for the 2008 ozone NAAQS. 77

Fed. Reg. 30087 (May 21, 2012). Since August 3, 2018, Cuyahoga County has been in

nonattainment with the 2015 ozone NAAQS. 83 Fed. Reg. 25823 (June 4, 2018).

B.      State Implementation Plan

        32.     Pursuant to 42 U.S.C. § 7410, each state must adopt and submit to EPA for

approval a State Implementation Plan (“SIP”) that provides for the implementation, maintenance,

and enforcement of the NAAQS. Each SIP must include enforceable emission limitations. 42

U.S.C. § 7410(a)(2)(A).

        33.     Once EPA approves the state’s emission limitations, these provisions constitute

the state’s “applicable implementation plan.” The provisions are considered that state’s “SIP

Rules” and are federally enforceable. 42 U.S.C. §§ 7413(a)(1) and (b)(1); 40 C.F.R. § 52.23.


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       34.      On January 22, 2003, EPA approved Ohio Administrative Code (“OAC”) 3745-

31-05 as part of Ohio’s federally-enforceable SIP. OAC 3745-31-05(A) authorizes the director

of the Ohio EPA to issue a permit to install to a source of air pollutants, including VOCs.

       35.      The Ohio SIP defines a VOC as any organic compound that participates in

atmospheric chemical reactions. OAC 3745-21-01(B)(6).

       36.      OAC 3745-31-05(D) states that the director of the Ohio EPA, in a permit to install

and operate, “may impose such special terms and conditions as are appropriate or necessary to

ensure compliance with applicable laws and to ensure adequate protection of environmental

quality. . . Such terms and conditions shall be federally enforceable and may restrict the

stationary source’s potential to emit below major source thresholds, below thresholds for other

Clean Air Act requirements, or place other restrictions on an air contaminant source or stationary

source in order to avoid a Clean Air Act requirement.”

C.     Chemical Solvents’ Air Permit

       37.      Ohio EPA issued a Federally Enforceable Permit to Install and Operate,

P0094783, to Defendant on August 16, 2011 (“2011 FEPTIO”). That permit was renewed by the

State on January 4, 2017, and remains in effect (“2017 FEPTIO”).

       38.      Both FEPTIOs are federally enforceable. OAC 3745-31-05(D).

             1. FEPTIO Requirements for Solvent Loading Racks

       39.      Part C.1 of the 2011 FEPTIO and 2017 FEPTIO includes requirements that apply

to the solvent loading racks with vapor recovery systems at the Facility.

       40.      Part C.1.b.2.d of the 2011 FEPTIO and Part C.1.b.2.b of the 2017 FEPTIO require

all VOC emissions from the solvent loading racks to be vented to a vapor recovery system that




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meets the operational, monitoring, and recordkeeping requirements of the FEPTIO when one or

both of the solvent loading racks is in operation.

       41.     Part C.1.b.2.d of the 2011 FEPTIO and Part C.1.b.2.b of the 2017 FEPTIO require

that the overall control efficiency of VOC emissions from the solvent loading racks with vapor

recovery systems be greater than 90 percent, by weight.

       42.     Part C.1.c.3 of the 2011 FEPTIO and 2017 FEPTIO requires Defendant to

maintain an average temperature of the cooling liquid from the vapor recovery system, for any 3-

hour block of time, of no more than six degrees Fahrenheit above the normal operating

temperature of 55 degrees Fahrenheit.

       43.      Part C.1.d.3 of the 2011 FEPTIO and 2017 FEPTIO requires Defendant to

operate a continuous temperature monitor that measures and records the vapor recovery system

cooling liquid temperature.

       44.     Part C.1.d.4 of the 2011 FEPTIO and the 2017 FEPTIO requires Defendant to

collect and record the following information each day: (i) the average temperature of the cooling

liquid in the vapor recovery system during each of the eight three-hour blocks of time each day;

and (ii) a log or record of operating time for the collection (capture) system, control device,

monitoring equipment, and the loading racks.

               2. FEPTIO Requirements for Thin-Film Evaporators (LUWAs)

       45.      Part C.3 of the 2011 FEPTIO and Part C.2 of the 2017 FEPTIO include

requirements that apply to the LUWAs at Denison.

       46.     Part C.3.b.1.a of the 2011 FEPTIO and Part C.2.b.1.a of the 2017 FEPTIO

provide that combined total VOC emissions from the LUWAs shall not exceed 3.0 pounds per

hour and 3.1 tons per 12 months. In addition, Part C.3.b.1.d of the 2011 FEPTIO and Part


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C.2.b.1.c of the 2017 FEPTIO provide that hazardous air pollutants (“HAPs”) from the LUWAs

shall not exceed 3.1 tons per 12 months. In calculating the total HAPs for purposes of meeting

the permit requirements, Defendant must count all VOCs as HAPs.

       47.     Part C.3.b.2.c of the FEPTIO and Part C.2.b.2.b of the 2017 FEPTIO require all

VOC emissions from the LUWAs to be vented to a vapor recovery system that must meet the

operational, monitoring, and record keeping requirements of the FEPTIO when one or both of

the LUWAs is in operation. Those provisions also require that the overall control efficiency of

VOC emissions from the LUWAs be greater than 90 percent, by weight.

       48.     Part C.3.c.1 of the 2011 FEPTIO and Part C.2.c.1 of the 2017 FEPTIO require

that the average temperature of the cooling liquid in the vapor recovery system (refrigerated

chiller), for any 3-hour block of time, shall not be more than 6 degrees Fahrenheit above the

normal operating temperature of 55 degrees Fahrenheit.

       49.     Part C.3.d.2 of the 2011 FEPTIO and Part C.2.d.2 of the 2017 FEPTIO require

Defendant to operate a continuous temperature monitor that measures and records the vapor

recovery system cooling liquid temperature.

       50.     Part C.3.d.3 of the 2011 FEPTIO and Part C.2.d.3 of the 2017 FEPTIO require

Defendant to collect and record the following information each day: (i) the average temperature

of the cooling liquid in the vapor recovery system during each of the eight three-hour blocks of

time each day; and (ii) a log or record of operating time for the collection (capture) system,

control device, monitoring equipment, and the LUWAs.

       51.     Part C.3.b.1.b of the 2011 FEPTIO provides that VOC emissions from the

LUWAs shall not exceed 40 pounds per day for each emissions unit or the permittee shall

achieve an overall reduction of 85 percent, by weight, of the VOCs for each emissions unit.


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               3. FEPTIO Inspection and Monitoring Requirements

       52.     For the solvent loading racks and the LUWAs, Parts C.3.d.4 and C.3.d.5 of the

2011 FEPTIO and Parts B.3.d.4 and B.3.d.5 of the 2017 FEPTIO require Defendant to perform

daily visual inspections and quarterly monitoring of all pumps, seals, pipeline valves in liquid

service, and process drains.

                                   RCRA REQUIREMENTS

A.     RCRA Statutory and Regulatory Program

       53.     RCRA and its implementing regulations establish standards applicable to

generators of hazardous waste and to hazardous waste treatment, storage, and disposal (“TSD”)

facilities. 42 U.S.C. §§ 9622 and 6924; 40 C.F.R. Parts 262, 264, and 265. Subparts AA, BB,

and CC of 40 C.F.R. Part 2641 contain air emission standards applicable to TSD facilities. The

owner or operator of a TSD facility must obtain an operating permit. 42 U.S.C. § 6925; 40

C.F.R. Part 270.

       54.     EPA has authorized the State of Ohio to administer its own hazardous waste

program. The federally authorized Ohio regulations are incorporated by reference and codified

in 40 C.F.R. § 272.1801.

       55.     Owners and operators of closed-vent systems and control devices used to comply

with 40 C.F.R. Part 264, Subpart AA, are required to monitor and inspect each control device to

ensure proper operation and maintenance of the control device—which includes installing,




1
  Part 264 applies to sources with RCRA permits addressing the AA, BB, and CC requirements.
Part 265 applies to sources without such permits. Chemical Solvents’ TSD requirements were
incorporated into its permit during the relevant time period, so Part 265 applied for a time and
Part 264 now applies. For simplicity, we cite Part 264 only in this complaint.
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calibrating, maintaining, and operating the device according to the manufacturer’s specifications.

40 CFR §§ 264.1033(a)(1), (f).

       56.     Owners and operators utilizing a condenser as a control device must install,

calibrate, maintain, and operate either: (1) a monitoring device equipped with a continuous

recorder to measure the concentration level of the organic compounds in the exhaust vent stream

from the condenser; or (2) a temperature monitoring device equipped with a continuous recorder.

40 CFR § 264.1033(f)(2)(vi).

       57.     Owners and operators of hazardous waste treatment, storage, and disposal

facilities that include certain equipment subject to the requirements in 40 CFR §§ 264.1052

through 264.1060 must record in the facility operating record the following: (1) the dates of each

compliance test required in 40 CFR §§ 264.1052(e), 264.1053(i), 264.1054, and 264.1057(f);

(2) the background level measured during each compliance test; and (3) the maximum

instrument reading measured at the equipment during each compliance test. 40 C.F.R.

§§ 264.1064(g)(4)(i)-(iii).

       58.     Owners and operators of hazardous waste treatment, storage, and disposal

facilities must calibrate air monitoring equipment using zero air (less than 10 ppm of

hydrocarbon in the air) as the calibration gas. 40 C.F.R. § 264.1063(b)(4).

       59.     Generators must determine whether a waste is hazardous as set forth in OAC

§§ 3745-51-20 to 3745-51-24 by either: (1) testing the waste in accordance with an approved

method; or (2) applying knowledge of the hazardous characteristic of the waste in light of the

materials or the processes used. 40 C.F.R. § 262.11(d); OAC § 3745-52-11(C).




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       60.     Generators that transport hazardous waste for offsite treatment, storage, or

disposal must prepare a uniform hazardous waste manifest according to the instructions included

in the appendix to 40 C.F.R. § 262. OAC 3745-52-20(A)(1); 40 C.F.R. § 262.20(a)(1).

B.     Chemical Solvents’ RCRA Permit

       61.     Pursuant to Ohio Revised Code Chapter 3734, Denison operates under an Ohio

Hazardous Waste Facility Installation and Operation Permit, issued February 2, 2005, U.S. EPA

ID number OHD 980 897 656 (“RCRA Permit”). Denison is regulated as both a generator of

hazardous wastes and as a treatment, storage, and disposal facility.

       62.     Condition A.9 of the RCRA Permit requires Defendant to properly operate and

maintain all facilities and systems of treatment and control which are installed or used by the

permittee to achieve compliance with the conditions of the permit. OAC 3745-50-58(E); 40

CFR § 270.30(e).

       63.     Part C.12(c) of the RCRA Permit requires Defendant to separate or protect (by

means of a dike, berm, wall, or other device) any storage container holding a hazardous waste

that is incompatible with any waste or other materials stored nearby in other containers, piles,

open tanks, or surface impoundments. OAC 3745-55-77(C); 40 C.F.R. § 264.177(c).

       64.     Part B.5 of the RCRA Permit requires Defendant to record inspections in an

inspection log or summary and keep these records for at least three years from the date of

inspection. At a minimum, these records must include the date and time of the inspection, the

name of the inspector, a notation of the inspector’s observations, and the date and nature of any

repairs or other remedial actions. OAC 3745-54-15; 40 CFR § 264.15.

       65.     Part D.6 of the RCRA Permit requires Defendant to conduct daily and weekly

tank inspections. At least once per operating day, Defendant must inspect: (1) the above-ground


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portion of the tank system, if any, to detect corrosion or releases of waste, and (2) the

construction materials and the area immediately surrounding the externally-accessible portion of

the tank system, including the secondary containment system, to detect erosion or signs of

releases of hazardous waste. A tank’s fixed roof and its closure devices must be visually

inspected to check for defects that could result in air pollutant emissions. Defects include, but

are not limited to, visible cracks, holes, or gaps in the roof sections or between the roof and the

tank wall; broken, cracked, or otherwise damaged seals or gaskets on closure devices; and

broken or missing hatches, access covers, caps, or other closure devices. OAC 3745-55-95; 40

C.F.R. § 264.195(c).

       66.     Part B.1(a) of the RCRA Permit requires Defendant to maintain and operate the

Facility so as to minimize the possibility of any unplanned release of hazardous waste or

hazardous waste constituents to air, soil, or surface water which could threaten human health and

the environment. OAC 3745-54-31; 40 C.F.R. § 264.31.

       67.     Part D.5 of the RCRA Permit requires Defendant to use appropriate controls and

practices to prevent spills and overflows from tank or containment systems. Part D.5(b) of the

RCRA Permit requires Defendant to have secondary containment that meets the requirements of

OAC 3745-55-93, and that all cement floors and dike walls be free of cracks, gaps, and/or breaks

in the concrete. OAC 3745-55-94; 40 C.F.R. § 264.194.

       68.     Part D of the RCRA Permit requires Defendant to have a high level alarm system

to warn of overfilling in one or more of its hazardous waste tanks. OAC 3745-55-94; 40 C.F.R.

§ 264.194(b)(2).




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                          CLEAN WATER ACT REQUIREMENTS

A.     CWA Pretreatment Program

       69.      Federal water regulations require certain publically owned treatment works

(“POTWs”) to establish a POTW Pretreatment Program. 40 C.F.R. § 403.8. A POTW is a

treatment facility that receives sewage, industrial, or other wastes. 40 C.F.R. § 403.3(q) and 42

U.S.C. § 1362(4).

       70.      40 C.F.R. § 403.5(c) requires a POTW with a pretreatment program to develop

and enforce specific limits on pollutants that may be introduced to the POTW. These limits are

federally enforceable pretreatment limits. 33 U.S.C. § 1317; 40 C.F.R. § 403.5(d).

B.     Pretreatment Standards Applicable to Chemical Solvents

       71.      Section 402 of the CWA, 33 U.S.C. § 1342, establishes the National Pollutant

Discharge Elimination System (“NPDES”) permit program, authorizing EPA or authorized states

to issue NPDES permits regulating the discharge of pollutants, including storm water, into

navigable waters.

       72.      EPA has authorized the State of Ohio, through the Ohio EPA, to issue NPDES

permits.

       73.      NEORSD owns and operates wastewater treatment facilities and interceptor

sewers in the Cleveland metropolitan area.

       74.      On June 28, 2012, Ohio EPA issued NPDES permit 3PF00002*MD to NEORSD,

which establishes effluent limits for NEORSD’s Southerly Wastewater Treatment Center to

discharge to the Cuyahoga River and requires that NEORSD implement a pretreatment program

in order to meet those effluent limits. As part of the pretreatment program, the NPDES permit




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requires NEORSD to develop and enforce local limits for all significant industrial users as

defined in the Ohio Code.

       75.      NEORSD has developed local limits and enforces these local limits through

administrative orders that it issues to facilities that discharge wastewater into the combined

sewer system that flows to the NEORSD Southerly Wastewater Treatment Center.

       76.      Both Jennings and Denison discharge to the combined sewer system that flows to

the Southerly Wastewater Treatment Plant.

       77.      NEORSD has issued the following Administrative Orders setting pretreatment

standards to Defendant:

            Denison: No. 3471-202-SIU07 (issued April 25, 2007); No. 796-S-SIU-12 (April 26,

             2012); No. CSID-S-SIU-16 (December 9, 2016); No. CSID-S-SIU-16R (January 27,

             2017); No. CSID-S-SIU-17R (July 13, 2017).

            Jennings: No. 7389-083-SIU07 (April 25, 2007); No. 896-S-SIU-12 (April 19, 2012);

             No. CSIJ-S-SIU-17 (April 19, 2017).

       78.      These Administrative Orders authorize Defendant to discharge industrial

wastewater from Denison and Jennings, as long as the wastewater that is discharged is below

pollution limits established in the Administrative Orders. The Administrative Orders are

federally enforceable. 40 C.F.R. § 403.5(d).

C.     CWA NPDES Program for Storm Water Discharges

       79.      Ohio EPA issued General NPDES Permit OHR000005, a multi-sector general

permit for storm water discharges associated with industrial activities, effective January 1, 2012,

for a period of five years. On March 5, 2012, Ohio EPA issued permit #3GR00757*EG to




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Defendant, requiring Defendant to comply with NPDES Permit OHR000005 until a new General

NPDES Permit is issued and Ohio EPA contacts Defendant in writing.

          80.   Ohio EPA issued General NPDES Permit OHR000006, a multi-sector general

permit for storm water discharges associated with industrial activities, effective June 1, 2017, for

a period of five years. On January 24, 2018, Ohio EPA issued permit #3GR00757*FG to

Defendant, requiring Defendant to comply with NPDES Permit OHR000006 until a new General

NPDES Permit is issued and Ohio EPA contacts Defendant in writing.

          81.   General NPDES Permits OHR000005 and OHR000006 each require Defendant to

update its storm water pollution prevention plan within 180 days of becoming subject to the

permit.

                          FIRST CLAIM FOR RELIEF – CAA
                   (FEPTIO Violation: Failure to control LUWA emissions)

          82.   Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

          83.   During the EPA inspection from June 25-27, 2012, EPA observed a pipe

discharging fluid from the vacuum pump associated with the Denison vapor recovery system into

a collection sump. EPA representatives recorded a 20,000 ppm reading of VOCs in vapors from

the collection sump and vacuum pump discharge pipe using a flame ionization detector, and

observed visible hydrocarbons being emitted from the sump using an infrared camera. These

observations showed that not all VOC emissions from the loading racks and LUWA 2 were

vented to the vapor recovery system, as required by Parts C.1.b.2.d and C.3.b.2.c of the 2011

FEPTIO. Subsequent analysis of the sump liquid showed that the problem was not solved until

closure of the sump, which Defendant states occurred in 2014.




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       84.       Based on the observations and analyses described in the preceding Paragraph,

Defendant violated OAC 3745-31-05 of the federally-enforceable SIP and Parts C.1.b.2.d and

C.3.b.2.c of its 2011 FEPTIO from at least June 25, 2012 through closure of the sump.

       85.       As provided in CAA § 113(b), 42 U.S.C. § 7413(b), the violations in this claim

subject Defendant to injunctive relief and to civil penalties in the amounts set forth in Paragraph

28 of this Complaint.

                       SECOND CLAIM FOR RELIEF – CAA
          (FEPTIO Violation: Failure to maintain 90% overall control efficiency)

       86.       Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

       87.       During the EPA inspection from June 25-27, 2012, Defendant’s representatives

told EPA inspectors that the vapor recovery system (including the condenser control device) had

never been tested to determine its pollutant control efficiency.

       88.       On January 22-23, 2014, Defendant conducted a performance test of the Denison

vapor recovery system. The system achieved an average control efficiency of approximately

eight percent.

       89.       On information and belief, Defendant has not yet conducted a performance test of

the Denison vapor recovery system where it achieved the 90 percent control efficiency required

by the SIP and the FEPTIOs.

       90.       Defendant therefore violated OAC 3745-31-05 of the federally enforceable SIP,

Parts C.1.b.2.d and C.3.b.2.c of the 2011 FEPTIO, and Parts C.1.b.2.b and C.2.b.2.b of the 2017

FEPTIO from the issuance of the 2011 FEPTIO on August 16, 2011, through the present.

       91.       As provided in CAA § 113(b), 42 U.S.C. § 7413(b), the violations in this claim

subject Defendant to injunctive relief and to civil penalties in the amounts set forth in Paragraph

28 of this Complaint.

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                          THIRD CLAIM FOR RELIEF – CAA
                  (FEPTIO Violation: Failure to comply with emissions limits)

       92.      Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

       93.      EPA calculated the Denison emissions that resulted from the failure to control

sump emissions and the failure to maintain 90% overall control efficiency using LUWA data,

sump flow rate and temperature data, process condenser efficiency information, information on

composition of chemicals processed through the LUWA, and the average control efficiency

established by the January 2014 performance test. Based on these calculations:

             a. Defendant has emitted more than 3.1 tons per year and more than 3 pounds per

hour of VOC emissions from the LUWAs from 2012 through the present, in violation of Part

C.3.b.1.a of the 2011 FEPTIO and Part C.2.b.1.a of the 2017 FEPTIO.

             b. Defendant has emitted more than 40 pounds per day and achieved an overall

reduction of less than 85% by weight of VOC emissions from the LUWAs from 2012 through

2017, in violation of Part C.3.b.1.b of the 2011 FEPTIO.

             c. Defendant has emitted more than 3.1 tons per year of combined HAP emissions

from the LUWAs from 2012 through the present, in violation of Part C.3.b.1.d of the 2011

FEPTIO and Part C.2.b.1.c of the 2017 FEPTIO.

       94.      As provided in CAA § 113(b), 42 U.S.C. § 7413(b), the violations described in

the preceding Paragraph subject Defendant to injunctive relief and to civil penalties in the

amounts set forth in Paragraph 28 of this Complaint.




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                       FOURTH CLAIM FOR RELIEF – CAA
    (FEPTIO Violation: Failure to comply with vapor recovery system monitoring and
                              temperature requirements)

       95.      Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

       96.      During the EPA inspection from June 25-27, 2012, EPA observed that

Defendant’s continuous temperature monitor electronic recorder, which measures and records

the temperature of the cooling liquid in the refrigerated chiller vapor recovery systems, did not

record the average temperature over a three-hour block when the solvent loading racks and

LUWA were in operation.

             a. According to a discussion between EPA and Defendant’s representative during

the January 22-23, 2014, EPA site visit, the Jennings refrigerated chiller vapor recovery system

did not have a temperature monitor and electronic recorder prior to March 5, 2013.

             b. According to the temperature graphs provided to EPA by Defendant, the Jennings

refrigerated chiller vapor recovery system water temperature exceeded 61 degrees Fahrenheit for

longer than three hours for a total of approximately 498 hours between March 5, 2013, and

January 20, 2014.

             c. According to the temperature graphs provided to EPA by Defendant, the Denison

refrigerated chiller vapor recovery system water temperature exceeded 61 degrees Fahrenheit for

longer than three hours for a total of approximately 1139 hours between August 16, 2011, and

January 20, 2014.

             d. According to the temperature graphs provided to EPA by Defendant, the Denison

refrigerated chiller vapor recovery system water temperature monitor did not operate during the

following periods: June 5, 2010, to September 15, 2010; January 1, 2011, to March 4, 2011; and

January 27, 2012, to February 2, 2012.


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             e. Upon information and belief, Defendant has not recorded three–hour block

averages of temperatures of the cooling liquid in the refrigerated chiller vapor recovery systems

at the Facility at any time since the issuance of the 2011 FEPTIO.

       97.      By failing to operate and maintain a continuous temperature monitor and

electronic record, by failing to record three-hour-block average temperatures, and by failing to

show compliance with the requirement to maintain an average temperature below 61 degrees,

Defendant violated OAC 3745-31-05 of the federally-enforceable SIP, Part C.1.c.3 of the 2011

FEPTIO and 2017 FEPTIO, Part C.1.d.3-4 of the 2011 FEPTIO and 2017 FEPTIO, and Parts

C.3.d.2-3 of the 2011 FEPTIO and Parts C.2.d.2-3 of the 2017 FEPTIO for each applicable

three-hour period from the issuance of the 2011 FEPTIO on August 16, 2011, through the

present.

       98.      As provided in CAA § 113(b), 42 U.S.C. § 7413(b), the violations in this claim

subject Defendant to injunctive relief and to civil penalties in the amounts set forth in Paragraph

28 of this Complaint.

                            FIFTH CLAIM FOR RELIEF – RCRA
               (Failure to meet total organic emissions requirements at Denison)

       99.      Paragraphs 1-81 of this Complaint, specifically including footnote 1, are re-

alleged and incorporated by reference.

       100.     As noted above, during Defendant’s January 22-23, 2014 performance test, which

tested for xylene, acetone, toluene, and total organic compounds, the Denison refrigerated chiller

vapor recovery system achieved an average control efficiency of approximately eight percent.

On information and belief, Defendant has not performed any other performance tests of this

vapor recovery system.



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       101.     Based on Defendant’s annual throughput data and the average control efficiency

referenced above, Defendant failed to reduce total organic emissions from all affected process

vents at Denison either to below 3.1 tons per year or by 95 weight percent, as required by 40

C.F.R. § 264.1032(a).

       102.     Defendant therefore violated 40 C.F.R. §§ 264.1032(a) and 264.1033(b) from at

least January 23, 2014, through the present.

       103.     As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

                            SIXTH CLAIM FOR RELIEF – RCRA
                 (Failure to meet closed-vent system requirements at Denison)

       104.     Paragraphs 1-81 of this Complaint, specifically including footnote 1, are re-

alleged and incorporated by reference.

       105.     During the June 25-27, 2012, inspection, EPA observed that Defendant failed to

continuously monitor its condenser control device as required by 40 C.F.R. § 264.1033(f)(2)(vi).

The information provided by Defendant to EPA does not indicate that Defendant has

subsequently commenced continuous monitoring of its condenser control device. Therefore,

Defendant has violated 40 C.F.R. § 264.1033(f)(2)(vi) from at least June 27, 2012, through the

present.

       106.     During the June 25-27, 2012, inspection, EPA observed that Defendant did not

have an indicator to measure vent stream flow from the LUWAs to the control device, and

therefore had no hourly record of vent stream flow, as required by 40 C.F.R. § 264.1033(f)(1).

The information provided by Defendant to EPA does not indicate that Defendant has



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subsequently commenced continuous monitoring of its vent stream flow. Therefore, Defendant

has violated 40 C.F.R. § 264.1033(f)(1) from at least June 27, 2012, through the present.

       107.    Since Defendant did not monitor the exhaust gas stream and did not monitor the

vent stream flow, Defendant could not and did not perform daily inspections of the readings from

each monitoring device to check control device operation and, if necessary, immediately

implement the corrective measures necessary to return the device to compliance, as required by

40 C.F.R. § 264.1033(f)(3). Therefore, Defendant has violated 40 C.F.R. § 264.1033(f)(3) from

at least June 27, 2012, through the present.

       108.    During the June 25-27, 2012, inspection, EPA observed that Defendant did not

control air emissions from process vents by routing the vent stream through a closed-vent

system, as required by 40 C.F.R. § 264.1033(j). The information provided by Defendant to EPA

does not indicate that Defendant has subsequently commenced routing the vent stream through a

closed-vent system. Therefore, Defendant has violated 40 C.F.R. § 264.1033(j) from at least

June 27, 2012, through the present.

       109.    As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

                          SEVENTH CLAIM FOR RELIEF – RCRA
                     (Failure to comply with recordkeeping requirements)

       110.    Paragraphs 1-81 of this Complaint, specifically including footnote 1, are re-

alleged and incorporated by reference.

       111.    Since Defendant did not monitor the exhaust gas stream and did not monitor the

vent stream flow, Defendant could not and did not document compliance with the process vent

standards in 40 C.F.R. § 264.1032 by recording information in the facility operating record, as

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required by 40 C.F.R. §§ 264.1035(b). The information provided by Defendant to EPA does not

indicate that Defendant has subsequently complied with the regulation. Therefore, Defendant

has violated 40 C.F.R. § 264.1035(b) from at least June 27, 2012 through the present.

       112.    Since Defendant did not monitor the exhaust gas stream and did not monitor the

vent stream flow, Defendant could not and did not record design documentation and monitoring,

operating, and inspection information for the relevant closed-vent system and control device, as

required by 40 C.F.R. §§ 264.1035(c). The information provided by Defendant to EPA does not

indicate that Defendant has subsequently complied with the regulation. Therefore, Defendant

has violated 40 C.F.R. § 264.1035(c) from at least June 27, 2012 through the present.

       113.    Defendant failed to maintain records for each tank inspection as required by 40

C.F.R. § 264.1089(b). Therefore, Defendant violated 40 C.F.R. §§ 264.1035(c) and 264.1089(b)

from June 27, 2012, through the present.

       114.    As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

                          EIGHTH CLAIM FOR RELIEF – RCRA
                   (Failure to maintain Denison according to requirements)

       115.    Paragraphs 1-81 of this Complaint, specifically including footnote 1, are re-

alleged and incorporated by reference.

       116.    During the EPA inspection from March 18-20, 2009, EPA observed:

              a.       holes and corrosion on Tank 2. Defendant uses this tank to store and/or

treat hazardous wastes. By allowing this tank to corrode, Defendant failed to maintain and/or

operate its facility to minimize the possibility of releases of hazardous waste, in violation of Part

B.1(a) of its RCRA Permit, OAC 3745-54-31, and 40 C.F.R. § 264.31 on at least one day.

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               b.      two drums of flammable hazardous waste stored near six containers of

oxidizers without separation. Defendant therefore violated Part C.12(c) of its RCRA Permit,

OAC 3745-55-77(C), and 40 C.F.R. § 264.177(c) on at least one day.

               c.      that the date and nature of repairs or other remedial actions were not being

entered on all inspection logs for containers, equipment, and tanks following notations on the

logs that actions were needed. Defendant therefore failed to record inspections in an inspection

log or summary and keep these records for at least three years from the date of inspection, in

violation of Part B.5 of its RCRA Permit, OAC 3745-54-15, and 40 CFR § 264.15 on at least one

day.

               d.      that the cap to the drainage pipe from the secondary containment area for

hazardous waste Tanks 21-23 had been left open. By failing to ensure that the drainage pipe

from its secondary containment area remained closed, Defendant failed to use appropriate

controls and practices to prevent spills and overflows from tank or containment systems, in

violation of Part D.5 of its RCRA Permit, OAC 3745-55-94, and 40 C.F.R. § 264.194 on at least

one day.

       117.     During the EPA inspection on June 26, 2012, EPA observed that the secondary

containment for all hazardous waste tanks had visible cracks and/or chips and gaps in the

liner/coating and that Defendant’s inspection records document cracks from January 24, 2011

through July 13, 2012. Defendant therefore failed to have secondary containment that meets the

requirements of OAC 3745-55-93, in violation of Part D.5(b) of its RCRA Permit and OAC

3745-55-94 for at least the specified period.

       118.     Defendant’s weekly and daily inspection records indicate that a high level alarm

for its hazardous waste tanks and a tank gauge for a hazardous tank were not operating from


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January 21, 2008 until December 30, 2009. Defendant therefore violated Part D of its RCRA

Permit, OAC 3745-55-94, and 40 C.F.R. § 264.194(b)(2) for at least the specified period.

       119.    According to information provided to EPA by Defendant, Defendant failed to

perform or record the results of daily inspections on 14 separate weekdays between July 29,

2011, and June 25, 2012, and on every Saturday and Sunday between July 30, 2011, and January

1, 2012. Defendant therefore failed to conduct inspections according to the schedule required in

Part D.6(a) of its RCRA Permit, and failed to inspect at least once each operating day the

aboveground portions of the tank system to detect corrosion or releases of waste, in violation of

Part D.6(c)(i) of its RCRA Permit, OAC 3745-55-95(B)(1), and 40 CFR § 264.195(c)(1) for at

least the specified days.

       120.    As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

                           NINTH CLAIM FOR RELIEF – RCRA
           (Failure to secure and control emissions from Denison fixed roof tanks)

       121.    Paragraphs 1-81 of this Complaint, specifically including footnote 1, are re-

alleged and incorporated by reference.

       122.    During the June 25-27, 2012, inspection, EPA observed that Defendant had not

secured closure devices on all fixed roof tanks when hazardous waste was in the tank, as required

by 40 C.F.R. § 264.1085(c)(3).

       123.    During the June 25-27, 2012, inspection, EPA measured organic emission levels

of 50,000 ppm at the agitator on Tank F2 and 34,000 ppm at the agitator on Tank F23, above the

leak threshold of 10,000 ppm for agitators to be considered “no detectable organic emissions”

pursuant to 40 C.F.R. § 264.1084(d)(9).

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        124.    During the EPA inspection from March 18-20, 2009, EPA observed corrosion and

holes on the roof of Tank 2, which is considered a defect that could result in air pollutant

emissions under 40 C.F.R. § 264.1085(c)(4)(i).

        125.    Based on the EPA observations described in Paragraphs 122-124, Defendant

violated 40 C.F.R. §§ 264.1085(c)(3), 264.1085(c)(4)(i), and 264.1084(d)(9) on at least three

days.

        126.    As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

                           TENTH CLAIM FOR RELIEF – RCRA
                      (Improper calibration of air monitoring equipment)

        127.    Paragraphs 1-81 of this Complaint, specifically including footnote 1, are re-

alleged and incorporated by reference.

        128.    During the June 25-27, 2012, inspection, Defendant’s environmental compliance

contractor told EPA inspectors that he calibrates his monitoring equipment with air from inside

the office building at the Facility, and that calibration values were not recorded. The information

provided by Defendant to EPA does not indicate that Defendant has subsequently changed that

practice. Defendant does not keep records indicating the total hydrocarbon concentration of the

air in the office building. Because Defendant did not verify zero air in calibrating its monitoring

equipment, Defendant violated 40 C.F.R. § 264.1063(b)(4) from September 2010 through the

present.

        129.    As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

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                        ELEVENTH CLAIM FOR RELIEF – RCRA
        (Failure to evaluate hazardous waste and prepare hazardous waste manifest)

       130.     Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

       131.     EPA received two reports from Ross Incineration Services, dated June 13, 2014,

indicating that Defendant sent two containers of hazardous waste to Ross without manifests.

According to these reports, the waste was received by Ross on May 14, 2014, and May 26, 2014.

Chemical analyses by Ross indicate that the waste in the containers was characteristic ignitable

hazardous waste (D001) because the waste flashed at 120 and 121 degrees Fahrenheit.

       132.     Defendant failed to determine whether the waste referred to in the preceding

Paragraph was hazardous and failed to prepare a uniform hazardous waste manifest for that

waste. Defendant therefore violated OAC §§ 3745-52-20(A)(1) and 3745-52-11(C), and 40

C.F.R. §§ 262.20(a)(1) and 262.11(c) on at least two days.

       133.     As provided in Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), the violations in

this claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.


                          TWELTH CLAIM FOR RELIEF – CWA
                    (Failure to comply with pretreatment pollution limits)

       134.     Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

       135.     Defendant discharged wastewater in excess of the effluent limitations established

in the applicable Denison Administrative Orders issued by NEORSD on 31 occasions between

January 11, 2012, and May 19, 2018, as set forth in Attachment A. Defendant therefore violated

its Administrative Orders, 40 C.F.R. § 403.5(d), and 33 U.S.C. § 1317(d) on each instance in

Attachment A.



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        136.    Defendant discharged wastewater in excess of the effluent limitations established

in the applicable Jennings Administrative Orders issued by NEORSD on 20 occasions between

December 16, 2011, and June 13, 2016, as set forth in Attachment B. Defendant therefore

violated its Administrative Orders, 40 C.F.R. § 403.5(d), and 33 U.S.C. § 1317(d) on each

instance in Attachment B.

        137.    As provided in Section 309 of the CWA, 33 U.S.C. § 1319, the violations in this

claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.

                        THIRTEENTH CLAIM FOR RELIEF – CWA
                  (Failure to update Storm Water Pollution Prevention Plan)

        138.    Paragraphs 1-81 of this Complaint are re-alleged and incorporated by reference.

        139.    Defendant failed to update its existing storm water pollution prevention plan

within 180 days of becoming subject to General NPDES Permit OHR000005. Defendant also

failed to update its existing storm water pollution prevention plan within 180 days of becoming

subject to the subsequent General NPDES Permit OHR000006. As a result, Defendant’s plan

does not cover all current operations or the entire area of its industrial activity.

        140.    Defendant therefore violated its permit #3GR00757*FG and 33 U.S.C. § 1342

from September 3, 2013, to the present.

        141.    As provided in Section 309 of the CWA, 33 U.S.C. § 1319, the violations in this

claim subject Defendant to injunctive relief and to civil penalties in the amounts set forth in

Paragraph 28 of this Complaint.




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                                      PRAYER FOR RELIEF

        WHEREFORE, based upon the allegations set forth above, the United States requests that

this Court:

               Order such injunctive relief as is necessary to compel Defendant to bring the

Facility into, and thereafter maintain, compliance with the CAA, 42 U.S.C. § 7401 et seq.,

RCRA, 42 U.S.C. § 6901 et seq., CWA, 33 U.S.C. § 1251 et seq., their implementing

regulations, and any permits or administrative orders issued to Defendant for the Facility

pursuant to the foregoing statutes;

       2.      Assess a civil penalty against Defendant for each day of each separate violation of

the CAA, RCRA, and CWA;

       3.      Award Plaintiff its costs of this action; and

       4.      Grant such other relief as the Court deems just and proper.




                                                Respectfully submitted,




                                                KAREN DWORKIN
                                                Deputy Section Chief
                                                Environment and Natural Resources Division
                                                United States Department of Justice




                                               THOMAS A. BENSON
                                               ANNA E. CROSS
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 JS 4q (Rev. 02/19)
                                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of law, except as
                                                                                                                                                                 Court for the
purpose ofinrt~atmgthecivildocketsheet. (SEEINSTRUCTlONSONNEXTPAGEOFTHISFORM.)

I. (a) PLAINTIFFS
 United States                                                                                          Chemical Solvents, Inc.

     (b~ County of Residence of First Listed Plaintiff                                                   County of Residence of First Listed Defendant    Cuyahoga
                           (EXCEPTIN U.S. PLA/NTIFF CASES)                                                                      (IN U.S. PLA/NTIFF CASES ONLY)
                                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                 TI-IE TRACT OF LAND INVOLVED.

     ~C~   Attorneys (Firm Name, Address, and Telephone Number)                                           Attorneys (IfKnownJ

 Thomas Benson &Anna Cross, U.S. Department of Justice                                                 Robert Casarona, Casarona Legal Services, LLC
 P.O. Box 7611 Washington, D.C., 20044-7611, 202-514-5261                                              57 E. Washington St., Cleveland, OH 44022, 440-337-9083

II. BASIS OF JURISDICTION(Placean"x"in oneBoxonly)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Plaoean "x" in One Boxfor Plaintiff
                                                                                                     (For Diversity Cases On(y)                                      and One Bax for Defendant)
L~ I U.S. Government                  O 3 Federal Question                                                                    PTF       DEF                                         PTF      DEF
       Plaintiff                            (U.S. Government Not a Parry)                       Citizen of This State         O 1       O 1     Incorporated or Principal Place       O 4    O 4
                                                                                                                                                   of Business In This State

O 2 U.S. Government                   O 4 Diversity                                             Citizen of Another State       O 2      O 2     Incorporated and Principal Place    O 5      O 5
      Defendant                             (Indicate Citizenship ofParties in Item I/1)                                                           of Business In Mother State

                                                                                                Citizen or Subject of a        O 3      O 3     Foreign Nation                      O 6      O 6
                                                                                                  F,.~ ..., r,.,...,..,
IV. NATURE OF SUIT Place an "X" in One Box Onlvl                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                           TORTS                               FORFEITURE/PENALTY                      BANKRUPTCY                     OTHER STATUTES
O   l10 Insurance                      PERSONAL INJURY                 PERSONAL INJURY          O 625 Dcug Related Seizure         O 422 Appeal 28 USC 158         O 375 False Claims Act
Q   120 Marine                       O 3I0 Airplane                  O 365 Personal Injury -          of Property 2l USC 881       O 423 Withdrawal                O 376 Qui Tam (31 USC
O   130 Miller Act                   O 315 Airplane Product                Roduct Liability     O 690 Other                              28 USC 157                       3729(a))
O   140 Negotiable Instrument               Liability                O 367 Health Care/                                                                             O 400 State Reapportionment
Q   150 Recovery of Overpayment      O 320 Assault, Libel &                Pharmaceutical                                                                          O 410 Antihvst
        & Enforcement of Judgment           Slander                        Personal Injury                                         O 820 Copyrights                O 430 Banks and Banking
O   151 Medicare Act                 O 330 Federal Employers'              Product Liability                                       O 830 Patent                    O 450 Commerce
O   152 Recovery of Defaulted               Liability                O 368 Asbestos Personal                                       O 835 Patent -Abbreviated       O 460 Deportation
        Student Loans                O 340 Marine                          Injury Product                                                New Drug Application       O 470 Racketeer Influenced and
        (Excludes Veterans)          O 345 Marine Product                  Liability                                               O 840 Trademazk                        Corrupt Organizations
O   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                     LAB R                                                  O 480 Consumer Credit
        of Veteran's Benefits        O 350 Motor Vehicle             O 370 Other Fraud          O 710 Fair Labor Standards         Q   861 HIA (1395f~              O 485 Telephone Consumer
O   160 Stockholders' Suits          O 355 Motor Vehicle             O 371 Truth in Lending            Act                         O   862 Black Lung (923)               Protection Act
O   190 Other Contract                     Product Liability         O 380 Other Personal       O 720 LabodManagement              O   863 DIWC/DIWW (405(g))      O 490 Cable/Sat TV
O   195 Contract Product Liability   O 360 Other Personal                  Property Damage             Relations                   O   864 SSID Tide XVI            O 850 Securities/Commodities/
O   196 Franchise                          Injury                    O 385 Property Damage      O 740 Railway Labor Act            O   865 RSI (405(8))                   Exchange
                                     O 362 Personal Injury -              Product Liability     O 751 Family at~d Medical                                          O 890 Other StaNtory Actions
                                           Medical Mal ractice                                         Leave Act                                                   O 891 Agricultural Ac[s
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS        O 790 Other Labor Litigation         FEDERAL TAX SU[TS             I~ 893 Environmental Matters
O   210 Land Condemnation            O 440 Other Civil Rights          Habeas Corpus:           O 791 Employee Retirement          O 870 Taxes (U.S. Plaintiff      O 895 Freedom of Information
O   220 Foreclosure                  O 441 Voting                    O 463 Alien Detainee             Income Security Act                 or Defendant)                   Act
O   230 Rent Lease & Ejectrnent      O 442 Employment                O 510 Motions to Vacate                                       O 871 IRS—Third Party           O 896 Arbitration
O   240 Torts to Land                O 443 Housing/                        Sentence                                                       26 USC 7609              O 899 Administrative Procedure
O   245 Tort Product Liability             Accommodations            O 530 General                                                                                        AcdReview or Appeal of
O   290 AU Other Real Roperry        O 445 Amer. w/Disabilities -    O 535 Death Penalty              IMMIGRATION                                                         Agency Decision
                                           Employment                  Other:                   O 462 Naturalization Application                                    O 950 Constitutionality of
                                     O 446 Amer. w/Disabilities -    O 540 Mandamus &Other      O 465 Other Imrrtigration                                                 State Statutes
                                           Other                     Q 550 Civil Rights               Actions
                                     O 448 Education                 O 555 Prison Condition
                                                                     Q 560 Civil Detainee -
                                                                           Conditionsof
                                                                           ConSnemeut
V. ORIGIN ~a[a~e an 'X" in One Box Only)
1'~ 1 Original   O 2 Removed from                       O 3         Remanded from          O 4 Reinstated or O 5 Transferted from O 6 Multidistrict                          O 8 Multidistrict
      Proceeding      Sbte Court                                    Appellate Court            Reopened             Another District                 Litigation -                Litigation -
                                                                                                                    (specrry)                        Transfer                   Direct File
                                         Cite the U.S. Civil Statute under which ou are ftlin (Do not ci[ejurisdictional statutes unless diversity):
                                         33 U.S.C. 1319; 42 U.S.C. 7413 and 692
VI. CAUSE OF ACTION                      Brief description of cause:
                                          Air and avatar nnllutinn PYraarlinn lanai IPVPIs

VII.  REQUESTED IN   ❑ CHECK IF THIS IS A CLASS ACTION                                            DEMAND $                                   CHECK YES only if demanded in compkaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                            JURY DEMAND:                O Yes      ONo
VIII.  RELATED OR REFILED
                       (See instructions):
      CASES) IF ANY                        NDGE                                                                                        DOCKET NUMBER
PATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
09/03/2019

    RECEIPT #                     AMOUNT                                  APPLYING IFP                                NDGE                             MAG. JUDGE
                        Case: 1:19-cv-02096 Doc #: 1-1 Filed: 09/12/19 2 of 3. PageID #: 33
                                           UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF OHIO

I.               Civil Categories: (Please check one category only).


                  1.                General Civil
                  2.                Administrative Review/Social Security
                  3.                Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                   CASE NUMBER:
II.     RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:      is RELATED to another PENDING civil case          is a REFILED case         was PREVIOUSLY REMANDED

If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)       Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY: Cuyahoga County
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in which
        it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiff's residence.
        COUNTY:

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                  AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                  CLEVELAND                  (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga, Lake,
                                                        Lorain, Medina and Richland)
                 YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION

                  TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                              VanWert, Williams, Wood and Wyandot)
JS 44 Reverse (Rev. 02/19)   Case: 1:19-cv-02096 Doc #: 1-1 Filed: 09/12/19 3 of 3. PageID #: 34
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
         NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
         statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
